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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                               Case No. 8:09-cr-572-T-30TGW

 MARK ANTHONY MYRIE
 _______________________________/


                                         ORDER

       THIS CAUSE is on remand from the Eleventh Circuit Court of Appeal for this Court

 to make a determination on Defendant Mark Anthony Myrie’s motion for a new trial. This

 Court previously granted Myrie’s motion for judgment of acquittal as to the gun count, but

 did not grant the motion for acquittal as to the other counts. The Court now denies

 Defendant’s Renewed Motion for New Trial (Dkt. #379) as to all counts.

       The evidence was clearly sufficient to support all counts except the gun count. In

 support of his motion for a new trial on the gun count, Myrie makes a strong argument:

       Of the two conspirators in the transaction (James Mack and Ian Thomas),
       Myrie knew only Thomas, and Thomas did not have a gun nor was there any
       evidence that Thomas had carried a gun on any previous occasion. Only Mack
       possessed a gun (albeit triple-wrapped in an enclosed compartment in his car).
       But the evidence is uncontradicted that Myrie did not know Mack, and had
       never even heard his name. McCaffrey, 2/14PM, 69:1-3; AUSA Preston, 2/17
       PM, 42:8-9, Myrie, 2/16PM, 21:8-19. It was absolutely uncontroverted at trial
       that Myrie had not ever even heard of Mack or of the Georgia buyers in
       general. It therefore is against the great weight of the evidence that it was
       reasonably foreseeable to Myrie that Mack would bring a gun to the
       transaction.

 Myrie’s Renewed Motion for New Trial, Dkt. #379, pp. 4-5. (Footnote omitted.)
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        This Court previously agreed with that argument and said:

        This is an unusual case in that the defendant here, Mr. Myrie did not know the
        buyers, did not know anything about their operation or their method of
        operation, did not know who they would send down to purchase drugs, and
        had no way of knowing really whether that person carried a gun or was known
        to carry a gun or whether the people in Georgia used guns when they
        purchased drugs. ... Further, Mr. Myrie was not present when the drug
        transaction took place, so he could not have known anything about the gun on
        the particular day in question.

 Dkt. #337, p. 11.

        The Eleventh Circuit disagreed with this Court and held:

        We conclude from the record that the evidence, when viewed in the light most
        favorable to the government, supports the jury’s conclusion that it was
        reasonably foreseeable that a co-conspirator would possess a gun in
        furtherance of the conspiracy. See Frank, 599 F. 3d at 1233. Myrie, Thomas,
        and Johnson had discussed a deal where Thomas would bring in another party
        to purchase a large quantity of cocaine, and Special Agent McAffrey and
        Sergeant Hasley both testified that guns are common in drug deals, especially
        for deals comparable in size to the amount of drugs involved in this case.
        Given Myrie’s familiarity with the drug trade, the jury could have reasonably
        concluded that the carrying or using of a gun by a co-conspirator was a
        reasonably foreseeable action of the conspiracy. See Diaz, 248 F. 3d at 1100.
        Additionally, the jury could reasonably conclude that the gun was carried in
        furtherance of the drug deal given the storage of the gun in the same trap
        compartment as the money. See United States v. Range, 94 F. 3d 614, 617
        (11th Cir. 1996) (upholding conviction where defendant stored the gun under
        the floor mat while delivering money for the cocaine).

 U. S. v. Myrie, 2012 WL 2360122, at *5.

        In light of the Eleventh Circuit’s conclusion that the evidence presented was sufficient

 to sustain the conviction, there is no need for a new trial. Therefore, Myrie’s motion for a

 new trial is denied as to all counts.

        It is therefore ORDERED AND ADJUDGED that:

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           1.        Defendant’s Renewed Motion for New Trial (Dkt. #379) is DENIED.

           2.        The Government’s Motion to Strike Defendant’s Renewed Motion for New

                     Trial (Dkt. #380) is DENIED as moot.

           DONE and ORDERED in Tampa, Florida on August 7, 2012.




 Copies furnished to:
 Counsel/Parties of Record
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